Case:lQ-OOSSG-jvvb Doc #:1-2 Filed: 03/05/19 Page 1 of 30

`:"Fillinthisiinformat'_i_o`r`ltoldenti_fy'yocirc_ase:' n _ §;m~:" §§ “' D

earner 1 Jabrea l\/lcQuarter

Firsl Name Mimlle Name l,asl Nnn\e

Debtor 2
(Spuusei if liling) Firsr N;m\e M\urirv Ni.mu

 

i.l§»l anl'\!‘

Uniled States Bankruplcy Courl for the DiStriCt Of M]Chigan We$i@m

 

Case number

C} Check if this is an
amended filing

 

 

ill known)

Official Form lOGSum

Summary of ¥our Assets and Liabilities and Certain Statistical lnformation 12/15

 

Be as complete and accurate as possible |f two married people are filing together, both are equally responsible for supplying correct
information. Fi|l out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize ‘{our Assets

¥our assets
Va|ue of what you own
1. Schedule A/B: Property (Official Form lOGA/[:`i)
1a,Copy line 55, Toral real estate from Sc.'rec'uleA/B , , ,,, … ,. , .i l __ 5

1b. Copy line 62. Total personal properly, from Schedule A/B ................................................................................. , ......... 5 16,890.82

 

1c. Copy line 63. Tolal of all property on Schedule A/B .........................

m Summarize Your Liabilities

5 16.890.82

 

 

 

Your liabilities
Amount you owe
_ 2. Sc:hedule D.' Crea'."tors Who Have Cler'ms Secu."ed by Properl‘y (Officia| Form 1060) 0 00
2a. Copy the total you listed in Column Ai Amounr ofc.'aim, et the bottom of the last page of Parl 1 of Schedm‘e D 3 '

3 Schedufe E/Fi Crediror's Who Have Urrsecur'od Clainis (Official Form 10GE!F)
3a Copy the total claims from Parl 1 (priority unsecured clerms) from line Be oi Schedule E/F .. _. l .

5 0.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line Bj of Schedule E/Fi,,.,i, ...............................

+ 3 117,569.89

 

 

 

 

 

Your total liabilities 3 M,_
m Summarize Your lncome and Expenses
4. Sehedule l: Your income (Officia| Form iOBl} 1 718 00
Copy your combined monthly income from line 12 of Schedule .' ................................................. , ..................................... 5 --‘_'-_
5. Schedule J: Your Expenses (Officia| Form 106J) 0
Copy your monthly expenses from line 22. Column f\, of Scliodulr) J . . .. .. .. ......... 5 M_O___

Official Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistica| |nformation page 1 Of 2

Case:lQ-OOSSG-jvvb Doc #:1-2 Filed: 03/05/19 Page 2 0130

Debtor 1 Jabf€& MCOUE]l't€l” Case number irririiown)

 

 

Firsl Nnint* l.l=dtllc anvit' L.'lsl N¢iiiii.-

m Ansvver These Questions for Administrative and Statisticat Records

 

E, Are you filing for bankruptcy under Chapters 7. 11, or 13?
g No. You have nothing to report on this part of the form Check this box and submit this form to the court with your other schedules
Yes

7i What kind of debt do you have?

Your debts are primarily consumer debts. Consurner debts are those "incurred by an individual primarily for a personal.
fami|y. or household purpose," 11 U,SrC1 § 101(8} Fill out lines 8-10 for statistical purposes 28 U.S.C.§159.

a Your debts arc not primarily consumer debts You have nothing to report on this part of the form. Checl< this box and submit
this form to the court with your other schedules

 

8, From the Statemerit of Your Current Morithly lrrcorne: Copy your total current monthly income from Of‘ficia|
Form 122A-1 i_ine ii; oR‘ Form 1225 l_ine 11; oR, Form 1220_1 Line 144 $ 1,560.00

 

 

 

9, Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Scheduie E/F, copy the following:
9a. Domestic support obligations (Copy line Ga.)
3 0.00
9b. Taxes and certain other debts you owe the government (Copy line Bb.) 3 0 00
Qc. C|aims for death or personai injury while you \vere intoxicated (Copy line Gc.) 3 0 00
9di Sludent loans (Copy line oil
S_O.OU
Qe. Obligations arising out of a separatron agreement or divorce that you did not report as
priority claims. (Copy line 69.) 5 U.UO
9f. Debts to pension or pront»sharing plansl and other similar debts (Copy line Sh.) + 5000
99. Total. Add lines 93 through ST. S,O-OO _m

 

 

 

Officia| Form 1GSSum Summary of Your Assets and Lial:iilities and Cer‘tain Statistical |nformation page 2 of 2

Case:19-00836-jvvb Doc #:1-2 Filed: 03/05/19 Page 3 of 30

Fi|l in this information to identify your case:

nebi@ri Jabrea Mc{]uarter ' " fm "

F|I'ST Name Mlddie NalTlE l.l'l$\ N¢‘ll'l\t:

D€ber 2
(SDOL|SG` il lillng} Firsl Name ll.i‘liddte Nariio l.risl Name

 

Uriited States Bankruptcy Court for the: District Of Nlichigan Western

Case number
if|l known}

 

   

El check irihis is an

 

amended hling

Official Form 1OBDec
Declaration About an lndividual Debtor’s Schedules wis

 

lf two married people are filing together, both are equally responsible for supplying correct information

You must file this form whenever you file bankruptcy schedules or amended schedules Nlaking a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- sg.iaeiow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
ij No

E] Yes. Name of person Kimb€r|y |Vl. St@bbil'l$ . Attach Barikruptcy Pe!i`rr`on Preparer’s Nori`ce, Declaralr`on. and
Signarure (Oficiai Form 119)

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

x©yc~€)\siQ/tl/Gmllig x

 

 

 

Signyture of Debtor 1 Signature of Uobtor 2
DateU _ 373016 l}ate 4~
Mrvii pp l YVYY rnur ppi YYY\'

Official Form 10GDec Declaration About an individual Debtor’s Schedules page 1

Case:19-00836-jvvb Doc #:1-2 Filed: 03/05/19 Page 4 of 30

n f=.il_i in this information to identify your case and this filing:

".`T§i_..i§@

 

 

 

oeniori Jabrea lVlcOuarter
Firsl Namc Middle Nami.~ l_ast Nanle
v f '~1, 1~ ~_-._
Debt0r2 7 ziii§ i'ii-i!:'i °'3 trial §i'.i* 314
(Spouso_ il liling) Fir>i N;iiiie Mii.lule Naiiic t_as! Narne l

United Slates Banliruptcy Coun lor ina DiSifiCi Of iVilCiliQEil'i We$iel'l`l

 

 

Case number

 

i;i Check if this is an
amended filing

 

Official Form 106A/B
SChedule A/B: Pl‘Opel‘ty 12i15

ln each category. separately list and describe items_ List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits bcst. Be as complete and accurate as possible if two married people are filing together. both are equally
responsible for supplying correct information lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known}. Answer every question.

 

 

m Describe Each Residence, Buildirig, Land, or Other Real Estate You Own or Have an lnterest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, landl or similar property?

El No. so to eari 2,

3 Yes_ Where is the property'?

. 7 _ f _
What is the property` Check du mm apply Do not deduct secured claims or exemptions Pui

 

 

 

 

c..i Single-iamily home the amount of any secured claims on Schedule D:
- _ _ ` l ` d .
1 i _M ___ _l Dumex m nmn_t_umt bunde Crediiors W.*io Have Caims Secure by Property
Streel address ii available or other description . y _ 7
L-l CO"dOmlrl'Um Oi CGU|J€FEIW€ Current value of the Current value of the
m Manufactured or mobile home entire P"OP€"W? P°l'ti°l" you OWn?
C| Land s 5
L] lnvestrnenl property
_ __ _` :"_] Time$ham Describe the nature of your ownership
leir male Zli‘ Cooe wl 1 interest (such as fee simplel tenancy by
Omu - -- -- -- --- -- v '- ~V~-~_ - the entireties. or a life estate), if known.

Who has an interest in the property? Checi< one

 

_`i comer 1 oniy
County t__] Debtor 2 only
i.:i Debtor 1 and Debtor 2 only
i._.] At teast one of the debtors and another

Other information you wish to add about this iteml such as local
property identification number:

 

m Check ifthis is community property
(see instructions)

 

lf you own or have more than one list here

 

 

 

 

 

What is the propeny? C'ch all mm apply Do riot deduct secured claims or exemptions Pui
LJ Single-lami`ly home the amount of any secured claims on Scheo'ule D:
1_2_ m Duplex ar mum_un“ winding Credr'tors Who Have C.'aims Secured by Property_
Street address if available or other description ._ _ _ d
U COndOm'nlUm GF COODerative Current value of the Current value of the
0 |vlanuiaclured or mobile home Entire property? portion you own?
' C`J i and 5 3
.._i investment property _
__________ _ _ __ __ __ _ _ ___ i__] I¢`mp§h,m, Describe the nature of your ownership
Cili‘ ~“llalc Ill’ CCiile " ‘ ' interest (such as fee simp|e, tenancy by
..i C)iriei' _______ ____ _ ____ ______ __ the entireties, or a life estatel, if known.
Wlio has an interest in the property? Cneci< one
ill Debtort only
gouan m Debtor 2 only
n oeblofi and D@m°r 2 Un|li' a Check if this is community property
g At least one of the debtors and another (5€€ inSIFUCiiOViS)

Other information you wish to add about this item, such as local
property identification i\umbor:

 

Official Form 106NB Schedu|e Ale Property PBQ€ 1

Case:lQ-OOSSG-jvvb Doc #:1-2 Filed: 03/05/19 Page 5 of 30

 

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheo‘uie D.'

Debtor 1 Jabrea MCQuarter Case number irrlmo\~m
Fir§t Niin'le Middle N:iirlr.l L:isl Nanle
What is the property? Crlecl< all thai apply
1 3 '_i Slng|e~fami|y home

 

Street address if available or other description

 

 

clly slate

Coi.lnty

2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... '9'

Desi:ribe Your Vehicles

 

ZtP Code

';.__i lJ=.iplex or rnu|ti-unlt building
'J Condominium or cooperative
l;i |‘v'lanutaclured or mobile home
Cl Larlcl

m investment property

`;l `i`imeshare
...l Olher f j j

Who has an interest in the property? Cnecl< one
3 i)ebtori only
LJ Dabmrzonn

Cl Deblor1 and Debter 2 only
0 At least one of the debtors and another

Credlrors Who Have Clai`rrls Secured by Prcper'fy.

Current value of the Current value of the
entire property? portion you own?

5 $
Describe the nature of your ownership

interest (such as fee simplel tenancy by
the entireties, or a life estate), if known.

 

n Chec|-r if this is community property
(see instructional

Other information you wish to add about this iteml such as local

property identification number:

 

 

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehiclesl whether they are registered or not? include any vehicles
you own that someone else drives |f you lease a vehic|e, also report lion Schedule G: Execirrory Conlracts and Unexpr`red Leases.

Who has an interest in the property? Checl< one

Ll lJebtor 1 only
i.`_] beezer 2 amy

Cars, vans. trucksl tractors, sport utility vehicles, motorcycles
il No
ii Yes
3_1_ lVlake; Honda_ ___ __
upset Accord _f
Year: 2000

Approximale mileage:
Gther information

Honda

lf you own or have more than one. describe here:

3_2 lV|al<e:
lVlodel:
Year;
Approximate mileage

Other information

Oft`lclal Form tUSAlB

a Debtor 1 and Deblor 2 only
[;} At least one of the debtors and another

li Check if this is community property (see
lnstructionsl

Who has an interest in the property? Check one.

:i Debtor 1 only

Ll Debler 2 only

;.i Debtor l and Debtor 2 only

g .l\l least one el lbo debtors and another

'_.i Check if this is community property (see
instructions)

Schedule Ale Property

Do not deduct secured claims er exemptions Put
tire amount of any secured claims on Schedul'e D.'
Creditors Who Have Cl‘aims Secureo‘ by Property.

Current value of the
portion you own?

Current value of the
entire property‘?

53,000.{)0 5 3,000.00

Do not deduct secured claims or exemptions Put
the amount ot any secured claims on Schedul'e D.'
Creo'r`tors Who Have Clai'ms Seci.ired by Properfy.

Current value of the
portion you own?

Current value of the
entire property?

page 2

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Debtor 1 Jabrea MCQUaner Case number iirirww,n
Firs| Name Middle Name Lasl Name
3 3_ Make: Wh° has an interest in the property? Check °"e~ Do not deduct secured claims or exemptions Put 7 c
" the amount of any secured claims on Schedule D:
ll/lodel: U Debl°r 1 only Credr'tors Who Have Claims Securad by Property.
Y ` Cl r)ebior 2 only 1
ear' Current value of the Current value of the

Approximate mileage:

Other information:

3.4_ Make:
lVlodel:
Yeac
Approximate mileage:

Other information:

ill Debtor1 and Debtor 2 only
n Al least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

‘_i Debtor 1 only

L:.i Deblor 2 only

[J Debtor1 and Debtor 2 only

0 At least one of the debtors and another

m Check if this is community property (see
instructions)

entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credi'tors Who Have Claims Secured by Property.
Current value of the Current value of the s
entire property? portion you own? '

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

DS_.\ No
[:l Yes

4_1_ Make:
lVlode|:

¥ear:

 

Other information:

l

l
r

lf you own or have more than one, list here:

4_2_ Make:
lVlode|:

 

 

¥ear:

Other information:

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ......... , ..................................................................... . ................................... 9

Official Form 106A/B

Who has an interest in the property? Check one
_.i Deblor i only

Ci Debtor 2 only

0 Debtor 1 and Debtor 2 only

0 At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
Ci Debtor1 only

[;l Debtor 2 only

l;] Debior 1 and Debior 2 only

m At least one of the debtors and another

‘;] Check if this is community property (see
instructionsl

Schedule AIB: Property

Do not deduct secured claims or exemptions Put )
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Froperty.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'

 

Creditors l/Vho Have Clairris Secured by Property " §

 

Current value of the Current value of the §
entire property? portion you own? §

 

$3,000.00

 

 

 

page 3

Case:lQ-OOSSG-jwb Doc #:1-2 Filed: 03/05/19 Page 7 of 30
Debtor t JBbi'EB MCQUai'tEZ|' Case number cirii=owi:)

 

 

First N;ime Mit:ld!r: Nnme l_risl Namc

Describe Your Personai and Houseiiold items

 

 

Do you own or have any legal or equitable interest in any of the following items?

6_ Househo|d goods and furnishings
Exampies: Major appliancesl furniture, linens_ china_ hitchenware
Ci No _ _ _ _
Yes_ Describe___…___ queen size bed, mattress bed rai|s, 2 couches, full size bed, 2 twin and full
mattresses flat screen 32" tv, 48" flat screen tv, |pad4
7_ E|ectronics

Exarnpi'es: Te|evisions and radios; audio_ video. stereo_ and digital equipment computers printers, scanners; music
collections; electronic devices including cell phones cameras media piayers_ games

‘El No
C] ¥es_ Descri`be_ _

8 Co|lectibles of value

Exarri,oles: Antioues and figurines; paintings prints. or other artwork; books. pictures or other art objects
stamp, coin_ or baseball card collections other collections memorabi|ia, collectibles
@ No

C] Yes. Describe..._._..._

LD

Equipment for sports and hobbies

Exanip/os_' Soorts. photographic exercise and other hobby equipmentl bicycles pool tables golf clubs skis; canoes
and kayat<s_ carpentry too|s; musical instruments

‘:l No _
m ¥es. Describe.i._.__._b|k€

io_ Firearms
Examples: Pisto|s, rifles, shotguns, ammunition, and related equipment
El No
;] Yes_ Describe_

.Clothes
Exam,oles: Everyday clothes, fursl leather coats. designer wear_ shoes, accessories

m No
‘;l Yes. Describe .........

_4

leg`gins, tennis shoes, coat,`hoodies{"jeans, boots

tz.Jewe|ry
Examp|es_‘ Everyday jewelry costume jewelry engagement rings wedding rings heirloom jewelry watches gems.
gold siiver
[] No _ 7 _
i_z_<'_] Yes DESCHDE` __ _ _Paridora bracelet ring 4 pair ofearrings

13_Non-farn1 animals
Examples_' Dogs, cats_ birds, horses

No
Cl Yes_ Describe._ __

14 Any other personal and household items you did not already |ist, including any health aids you did not list

ill No
'_i Yes_ Give specific
information ...............

15. Add the dollar value of all of your entries from Part 3. including any entries for pages you have attached

for Part 3.Writethatnumber here ._ __ _ _ _ _ . _ ____-)

Officiai Form tGSAiB Sc'riedu|e Ale Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

51,987.00

3100.00

SQO0.00

3165.00

 

 

 

s3,152.00

 

page 4

 

Case:lQ-OOSSG-jvvb Doc#:l-Z Filed
_MCQ‘~‘LT§F_

l .i'.'l t.;nm:

m Describe ¥our Financial Assets

Do you own or have any legal or equitable interest in any of the following?

Jabrea

i:l¢st Nalm:

Deblor 1

Miuul\- Niinic

16.Cash

: 03/05/19 Page 8 of 30

Caso number 1_.1.-<.1¢»~.-1.-.1

 

E)rarnpfes: |Vloney you have in your wallet in your home. in a safe deposit box, and on hand when you file your petition

Current value of the
portion you own?

Do not deduct secured claims .
or exemptions '

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

gi No
i:l Yes Cash. 5
171 Deposits of money
Examples.' Chec|<ing. savings or other financial accounts; certificates ofdeposit; shares in credit unionsl brokerage houses.
and other similar institutions li you have multiple accounts with the same institutionl list each.
:l No
Yes…,....\ |nstilution name:
17 1 Checliing accounl; $
17_2 Checking account 5
17.3 Savings account 41 3
17 4 Savings account 5
17 5 Certificates ot deposit 5
1? 6 Otherinanciai account COnSUmer Cred"~ Union $280.00
17 'f Olherhnancla| account Cir§en DOt bank `_ _ __ 3216.00
1`1'.8 Otl'ier financial accounl __E|It_r] Th,|IQJB_§D}_< _ 5 0.00
1'1_9 Otner financial account 5
15. Bonds, mutual funds, or publicly traded stocks
Exarnpies; Bond funds, investment accounts with brokerage firmsl money market accounts
E.l No
C.l Yes institution or issuer name
S
S
$ ____
19 Non-public|y traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture
NO Name of entity; % of ownership:
Cl Yes. Give specific % 3
information about a
them 1 . _ _______ /° 5____.___
j i__ _ n m _WY*_% S_M

Officia| Form 106AIB Schedule AlB: Property

page 5

Case:lQ-OOSSG-jvvb Doc #:1-2 Filed: 03/05/19 Page 9 of 30
Debtor 1 Jabrea MCQuarter Case number (ilxnown)

 

 

FifSl NB|T|€ Middie NB|T|D LHS\ Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiab/e instruments include personal checks, cashiers' checks promissory notes. and money orders
Non¢negotiable instruments are those you cannot transfer to someone by signing or delivering them.

ileo

a Yes. Give specific issuer namei
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them. 3
3
$
21A Retirement or pension accounts
Exampies: interests in lRA, ER|SA. Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
a No
Yes. List each
account Separateiy.. Type of account institution name:
401(k) or similar plan _ $________
Pension plan; S
tRA: $
Retirement account: $
Keogh: $
Addillonai account _io:zb S 4»048'82
Additional account 3
22, Security deposits and prepayments
Vour share of all unused deposits you have made so that you may continue service or use from a company
Exampies: Agreements with landlords prepaid rent. public utilities (eiectric, gas. water), telecommunications
companies or others
El No
a Yes institution name or individuai:
Electric; 3
Gas: 3
Heating oil: 5
Security deposit on rental unit $
Prepaid rent; 5
Te|ephone; 5
Waiei§ $
Rented furniture s
Other; $
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
® No
n Yes .......................... issuer name and description:
$ _____
$

 

Officiai Form 106A/B Scheduie A/B: Property

page 6

Case:19-00836-jwb Doc #:1-2 Filed: 03/05/19 Page 10 of 30
DebiO|' 1 Jabrea MCQUarter CBSE number (llknown)

Fiisl Name Mid¢t|c Name Lnsi flame

 

 

, 24. interests in an education iRA. in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1). 529A(b). and 529(b)(1).

E] No

n Yes ..............................

institution name and description Separateiy file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

No
Ci Yes. Give specific
information about them. .. 1 $
26, Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lnternet domain names, websitesl proceeds from royalties and licensing agreements

.No

m Yes. Give specific
information about them . , $

? 27. Licenses, franchises, and other general intangibles
Exampies: Buiiding permits, exclusive licenses. cooperative association holdings liquor licensesl professional licenses

 

No h
C] Yes. Give specific §
information about them. .. $ §
y
iVloney or property owed to you? Current value of ther §

portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

[Zl Yes Give specific information iRefund; Refut‘ld § Federa|_~ $ 5,194.00 §
about them, including whether : ____ ,
you already filed the returns State: $ 1.000-00

and thetax years...'_. . .

Locai: $ 0.00

29. Fami|y support `
Exampies: Past due or lump sum alimony. spousal supportl child support maintenance, divorce settiement, property settlement l

Cl Yes. Give specific infom'iation. _. v

Aiimony: $

Maintenance: $

Support 5
$

DiVOi‘Ce Sememen\f

 

Property settiement: $

 

l ,…. t ,, ,._.…..v. . _ .c,...s__., _ c.,.. ....¢ w,,,,_n c…c_..,~ ..,._ct.

30. Other amounts someone owes you .
Exampies: Unpaid wages, disability insurance payments, disability benefits sick pay, vacation pay, workers' compensation
Socia| Security benefits; unpaid loans you made to someone else

No
m Yes. Give specific information . . .. . _

 

Ofi"icial Form 106A/B Schedule Ach Property page 7

Case:19-00836-jwb Doc #:1-2 Filed: 03/05/19 Page 11 of 30
Debtor 1 Jabrea MCQUarter Case number tiriiiiriwiii

Fils| Name M;ddle N:airie least h.':‘uiii:

 

 

31 interests in insurance policies
Exampies£ Health, disability, or life insurance health savings account i_HSA}; credit homeowners or renter's insurance

@No

idM .
d Yes' Name me 'nsuranc§ Cpmpany Company name: Beneliciary: Surrender or refund value;
of each policy and list its value

32 Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trustl expect proceeds from a life insurance policy or are currently entitled lo receive
property because someone has died

13 No
ij Yes. Give specific information …. .

33, Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exampies: Accidentsi employment disputes insurance claims or rights to sue

@No

U Yes. Describe each claim.

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

E]No

i;.i Yes. Describe each claim

35.Any financial assets you did not already list
iii No '

[.;l Yes Give specific information . $

 

36 Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

forPan4.wriieihaisomewhere _ __ _ _\ 1 .. _ ___. 9 sM_M__

 

 

m Describe Any Business-Related Property You Own or Have an lnterest ln. List any real estate in Part 1.

37 Do you own or have any legal or equitable interest in any business-related property?
E.l No. Go to Part 6.
m Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptionsl

33. Accounts receivable or commissions you already earned
iii No
n Yes. Describe

39. Office equipment, furnishingsl and supplies
Exampies: Business¢related computers software modems_ printers copiersl fax machines rugsl telephones desks, chairs electronic devices

@No

Ci Yes. Describe. 5

Official Form 106AiB Schedule AiB: Property page 8

 

Case:lQ-OOSSG-jvvb Doc #:1-2 Filed: 03/05/19 Page 12 of 30

Debtor t Jabrea MCQUarter Case number william

First Naiiiu Mir.tdli': N:im€.i l_::st N.'imr»

 

 

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

No
=:] Yes. Describe

 

 

 

 

 

 

 

 

 

 

 

S
41. inventory
13 No
33 Yes. Describe . . 5
42. interests in partnerships orjoint ventures
El No
m Yes. Describe Name m entity % of ownership:
°/|l S
%
% S _______
43. Customer |ists, mailing lists, or other compilations
E] No
a Yes. Do your lists include personally identifiable information (as defined in ll U S.C. § 101(41!\))?
El No
:.i Yes Describe 3
nd.Any business-related property you did not already list
El No
n Yes. Give specific 5
information
$
_ S____.
8
$
____ v 3
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached 3000
for Part 5. Write that number here . . . .. _` _ . 9

 

 

Describe Any Farm- and Commerciai Fishing-Related Property You Own or Have an lnterest ln.
|f you own or have an interest in farmland, list it in Part1.

 

 

46 Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
@ No, Go to Part `i’l
i;i Yes. Go to line 4r
Current value of the
portion you own?

Do not deduct secured claims
or exemptions

47 Farm animals
Exainples; Livestocli_ poultryl farm-raised fish
l..>&.l No
ft Yes

officiaz Form ioeAiB scheduie A/B: Property page 9

 

Case:lQ-OOSSG-jvvb Doc #:1-2 Filed: 03/05/19 Page 13 of 30
Debior 1 Jabrea Mcouart@r Case number iir:mown)

Firsl N;imc Mldule Name i,.\sl Na:nc

 

 

48. Crops-either growing or harvested
3 No
l:.l Yes Give specific
information_. .` 3

49 Farm and fishing equipment, implements, machinery, fixtures. and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

No
Cl Yes.\
5
50. Farm and fishing supplies, chemica|s. and feed
@ No
m Yes .........................
S
51.Any farm- and commercial fishing-related property you did riot already list
§§ No
ij Yes. Give specific
information ., $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached 3 0'00
for Part 6. Write that number here .................................................................................................................................................... 9
Desci'ihe Afl Property You 0wn or Have an lnterest in That Vou Did Not List Above
53\ Do you have other property of any kind you did not already list?
Exampies' Season tickets country club membership
m No 3
[:l Yes Give specific
information 3
3
54`Add the dollar value of all of your entries from Part'r.Writethatnumber here l `. . l . . . .............. 9 5
List the Tota|s of Each Part of this Form
55 Part1:Total real estate, line 2.\ . . . . . . .. 9 $O-OO
56. Part 2: Total vehicles, line 5 $M_
57. Part 3: Total personal and household items, line 15 8 3.152-00
58. Part 4: Tota| financial assets, line 36 310.738-82
59.Part 5: Tota| business-related property, line 45 SO-OO
60. Part 6: Tota| farm- and fishing-related property, line 52 SO~OO
61 Part 'i': Total other property not |isted, line 54 + $0.00
62 Total personal property. Add lines 56 through 61. ................ $M__ Copy personal property total 9 + 3§|_8__9__[_)._8.'2___
63.Tota| of all property on Schedule AIB. Add line 55 + line 62.n . . l , $M_

 

 

 

Official Form iOEAIB Scheclule A.'B: Property page 10

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Fili in misinformation to identify your case':

 

 

 

.£'NI § g
center 1 Jabrea McQuarter -" f F;...,,. E g
liirsl Name Miudle Narne Last Naniu
Debtor 2 (,_
(Spt)use, il fillng} Firsl Nun\i.- Minule Nalne last N:rrm- 36 19 l&;ti.§ _ 5 AH l[i:}»: 31;

 

Uniled States Bankruptcy Court for the. Dismcl Of MiCthan W@Stem l _
, 1“"

   
 

 

;'l Cl Check if this is an

amended Hling

CBSE number
ill knowni |

 

Official Form 1060
Schedule C: The Property You C|aim as Exempt 114/16

 

Be as complete and accurate as possible lt two married people are filing together‘ both are equally responsible for supplying correct information
Using the property you listed on Scl)eo‘ule A/B: Property (Official Form 106A1'B) as your source. list the property that you claim as exempt |f more
space is neededl fill out and attach to this page as many copies of Part 2: Additionar‘ Page as necessary On the top of any additional pages write
your name and case number (if known).

For each item of property you claim as exempt. you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions~such as those for health aidsl rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount. your exemption
woqu be limited to the applicable statutory amount.

m ldentify the Property ¥ou Claim as Exempt

1. Which set of exemptions are you claiming? Checit one orriy. even if your spouse is lilmg with you

CI You are claiming state and federal nonbankruptcy exemptions 11 U S Cr § 522(b)(3)
You are claiming federal exemptions 11 UrS,C. §522(13){2)

2d For any property you list on Schedui'e A/B that you claim as exempt. fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Sclreo'ule A/B

` 11 usc 522 d 3
Br'ef . . See Attachment1 5 w 5 1 987.00 § ( ]( )
description 0 .
o .

l,ine from 100 /o of fair market value, up to

any applicable statutory limit

 

Scfredule A/B: 5

 

 

 

 

` 11 usc 522 d 3

g;l:;rrpr bike 3 L&l 5 100\00 § ( )( )
!Dl'i ____“+r-_‘_‘_ 4__4 7 -

Line from 9 _.] 100% of fair market valuel up to
Scnedule A/B; ” any applicable statutory limit

` 11 usc 522 d 3
E;':;[.pt.en See AttachmentZ 5 [Zj § 900_00 § ( )( )

l l :
o .

Line from 13 100 /o of fair market value, up to

any applicable statutory limit

 

Schedule A/B: 11_

3, Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 41'01!19 and every 3 years after that for cases filed on or after the date of adjustmentr}

No
n Yes. Did you acquire the property covered by the exemption within 1215 days before you filed this case'?

Cl No
ij Yes

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 ofz_

Debtor 1

CaSe:lQ-OOSSS-jwb DOC #:1-2
.labrea lillcOuarter

 

Fir§l t\lai'ml

Mitltll\- Naiiiu

m Addi'tiona| Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description

Line from
Schedule A/B.'

Brief
description

Line from
Schedui‘e A/El.'

Brief
description

Line from
Schedule A/B:

Brief
description

l_ine from
Schedi.ile A/B.'

Brief
description

Line from
Schedui'e A./B.'

Briei
description

Line from
Scliedule A/B:

Brief
description

Line from
Schedule A/B.'

Brief
description

Line from
Schedule A/B.'

Brief
description

Line from
Schedule A/B.'

Brief
description

Line from
Scliedu.'e A/.B,

Brief
description

Line from
Scliedule A/B:

Brief
description

Line from
Scheo‘ule A/l:`.'

Official Form 1066

l.asl N.iiiie

Current value of the
portion you own

Copy the value from

Filed: 03/05/19 Page 15 of 30

CBSE i`lU|"|"lef (i.'kl'ion-i:}

 

Amount of the exemption you claim

Check only one box for each exemption

 

 

 

 

 

 

i;.] 100% of fair market value_ up to
any applicable statutory limit

 

a 100% of fair market value, up to
any applicable statutory limit

oil 100% of fair market value, upto
any applicable statutory limit

 

l:l 100% affair market value, up to
any applicable statutory limit

 

[] 100% of fair market value, up to
any applicable statutory limit

 

ill 100% of fair market vaiue. up to
any applicable statutory limit

 

 

;l 100% of fair market value, up to
any applicable statutory limit

 

 

73 100% of fair market value. up to

 

':l 100% of fair market value, up to
any applicable statutory limit

 

g 100% affair market valuel up to
any applicable statutory limit

 

;l 100% of fair market value up to
any applicable statutory limit

Scrieolule A/B
See Attachment 3 5 id 5 155_90
12
Honda 3 Ei 5 31000.00
3.1
4031) 5 __ 11 3 idle 82
21
Eank account 3 [>_?_| 3 280.00
17.6
_Bank account 3 13 3 216.00
377
See Attachment 4 3 @ 3 0.00
178
Reiund 3 w 5 6`194.00
28
Retund 5 El § 1`000.00
25 any applicable statutory limit
3 C] s
3 Ci s
_f 5_ _,V Ll $
5 C] $

 

:.l 100% of fair market value up to
any applicants statutory limit

Schedule C: The Property Vou Claim as Exempt

Specif|c laws that allow exemption

11 usc § 522{di(4)

 

 

 

 

11 usc § 522(<1){2}

 

 

 

 

11 usc § szzid)iioiiis)

 

 

 

 

11 USC § 522(d){5}

 

 

 

 

11 usc § 522(d)i5)

 

 

 

 

11 usc § 522(¢)(5)

 

 

 

11 usc § 522(¢)(5)

 

 

 

11 USC § 522(d)(5)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

page _2- Of 2_

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i_=_iii iii_iiiis informational identify your case

Debtor1 Jabrea |VlcQuarter

Fir=ii Namt= t.iiilii=f» \iiiirw __ n "`F"T:isi Nrii-ii-

 

Debtor 2 __
(Spouse_ il filing) Flrsi Namc Miu\ili.- Nnmt- last Nsim-

 

Un`lled States Bankruptcy Court for the: DiStl'iCi'- Of Mlchigan WeSt€l'n

 

 
 

Case number _- . _ _ _
iliiwowni _;' ' . . =r' w Cl Checkifthlsis an

amended filing

 

 

 

Official Form 1060
Schedule D: Creditors Who Have Claims Secured by Property 12i15

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct
information lf more space is needed, copy the Additional Page, fill it out, number the entriesr and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do any creditors have claims secured by your property?
No_ Check this box and submit this form to the court with your other schedules Yoti have nothing else to report on this form_
i;l Yes. Fill in all ofthe information below

m List A|l Secured Clairns

 

 

 

 

 

 

 

Column A Column B Column C
2. List all secured claims_ lf a creditor has more than one secured claim, list the creditor separately Amoum of l;l€lln.l Valuo of collal,_,,.,,ll Unsgcured
for each claim_ if more than one creditor has a particular claim. list the other creditors in Part 2. DO nol deducl me that supports this portion '
As much as possible, list the claims in alphabetical order according to the creditor`s name. value or collaleral_ claim _, _ __llany
Describo the property that secures the claim: 3 5 S
Crec.tilor s Norne
Number Slreel __
As of the date you filc, the claim is: Check all that apply
il Contingent
l;l Unlidu`idaled
Cily State Z|P Code n Dlspuled
Wh° OW95 me debt? Check Oll@- Nature of lien Check all that apply
m Deblol 1 On|d' 'r,.] nn agreement you made lstich as mortgage or secured
n Debtor 2 only _ car loaii_i
U Deblol l and Deblor 2 clan ._l Sl_gti;!_ii-_,l i:-':n lsui:!\ as lan lreri_ ine-:ri_‘-‘=i:";'s lier`.l
n At least one of the debtors and another r-_j JUdQl“*`~"l lien from 3 lawsuit
i...] Other (inciuding a right to ottsell
ill check ir this claim relates to a
community debt
_ D_ai° debt Wa$_i“_€u__rred ____ _ l-_a'=`_i 4 digits °f a_°_°°_"“i_i‘“'ll_'_°__°r_ __ __ _ _ __ __ _ ______________c__.._______ ________ ________
T-gigj Describc the property that secures the claim: S 5 5

 

Ciiir.'ite.' s N sine

 

 

NL.-intJer_-_" S:rge: _
As of the date you ti|e, the claim is: Check all that apply
';l Contingeni
l;l unliquidated
ll`.`ityl Slale Z|P Code m Dispuled
Wh° OWeS the deb‘? Check O"e- Nature of lien Check all that apply
a Debior l Ol'l|t' n An agreement you made lsuch as mortgage or secured
L_..l Debtor Eon|y 7 carionn;
a Deblor 1 and r)@bl;,l _') Oiily _] Stat'.itcry lien lstich as lex lien i~.~e';l'i:.iiir_ s lien'i
l`_'l At least one or me debtors ana another -J Jlld<_illi€lll hen twin a lawsuit
il Othoi (includlng a right to offsel)
n Check if this claim relates to a

community debt
Date debt was incurred _l_astjt digits of account number_ __H “___

Add the dollar value of your entries in Column A on this page. Write that number here: |$___

Official Form 1060 Schedule D: Creditors Who Have Claims Secured bv Property pape 1 of 1

CaSe:lQ-OOSSG-jwb DOC #21-2

Fill in this information to identify your case:

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oooiori Jabrea NlcQuarter §_"_“_`;` § § orr
Firsl Nnrnr: Nlidule N.lmr- Last Narne _' j .__‘ di
DEthr 2
(Spouse_ ilfiling) FirslNamr- M;uuter~izime LastNai-ne
. . . . 'Fn ft i‘:"i$_»'jl __"" .\.\,\ r:_:,, _
United States Bankruptcy Court for the: DlStT|Ct Of M|Ch|gall WeSt@fn "“' l " mill D §th i_;° 3[‘}

 

g Check if this is an

amended filing

Case number
ill known)

 

   

Official Form iOGE/F
Schedule E/F: Creditors Who Have Unsecured Claims 12i15

Be as complete and accurate as possible. Use Part1 for creditors with PR[OR|TY claims and Part 2 for creditors with NONPRlOR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B.‘ Property (Official Form 106AIB) and on Schedule G.' Execut‘ory Contracts and Uriexpi'reci' Leases (Officia| Form 1066). Do riot include any
creditors with partially secured claims that are listed in Schedi.rie D.' Credi`tors Who Hold Cl'aims Secured by Property. lf more space is
needed, copy the Part you need, fill it outl number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

m List A|| of Your PRlORlTY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
No_ Go to Part 2_
g Yes

2,List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim_ list the creditor separately for each claim_ For
each claim listed identify what type of claim it is_ lf a claim has both priority and nonpr`iority amounts, list that claim here and show both priority and
nonpriority amounts As much as possible list the claims in alphabetical order according to the creditor‘s name_ lf you have more than two priority
unsecured claimsl fill out the Continuation Page of Part i_ if more than one creditor holds a particular claim_ list the other creditors in Part 3.

(For an explanation of each type of claim_ see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

Totat claim Prlority Nonpriority
amount amount
21
_ ___ ,___ i,_ Last 4 digits of account number mm H_ ___ ___ 5 3 5
Pr only tj:t
Whon was the debt incurred? __ j j
Nun'ibcr Slrr.-i;-l _ _ _
As of the date you file, the claim is: Cneck ali that apply
City Slale ZlP Code m Commgem

ill unliquidated

Who incurred the debt? Check one_ U Disputed

D Debior t only
g Deblor 2 only Type of PRlOR|TY unsecured claim:
m Debtor l and [Jebtor 7 only

Domestrc support obligations
[.:l At least one ot the debtors and another

laxes and certain other debts you owe the government

t`.`,`li__ll_._`l

n Check if this claim is for a community debt Clairns for death or personal injury while you were

ls the claim subject to offset? imoxlcaled ‘
Cl No other specify

C_| ¥es

E

 

l§l

Last 4 digits of account number _ _

 

l-’rlority Crer_illnr s N:ilt\il
thn was the debt incurred?

 

 

Number Slrei.\lj f _ _ _
As of the date you flle. the claim is: Cticcl-t ali inai apply
i_] Conti'igent

Ciiy Staie ZiP Coc'r_ ”T' ;l Unliqutdatecl
7 .

Who incurred the debt? Check one_ *} D'Sp“led

n Debtor 1 only

Type of FR|OR|T‘¢' unsecured claim:
n Debtor 2 only

l:] Domestic support obligations
l;l Debtor ‘l and Debtor 2 only :] T d m d m me ever mem
na n o er s ou owe n
Cl At least one ofthe debtors and another v axes an ce l e y g
n . . . . _ _l CEatrns for death or personal injury while you were
Check if this claim is ior a community debt lmox:_;meu-
ls the claim subject to oftset? J Olher SpGClly __________ , , ______
m No
El Yes

Gf'fir‘.i.al Form il\F`tFiF Rr‘.hp.riiilp_ FIF: Cri=_ditnrl: W|'m H:ivr-'i lln_ss=_r'.iira.ri C|aims name 1 of 6

Case:lQ-OOSSG-jvvb Doc #:1-2 Filed: 03/05/19 Page 18 of 30

Debtor1 Jabrea l\/lcOuarter

 

Fll’$1 Niim£‘ M|(]Gte Nai'!'le ls'ISl Nail'lt'.‘

m List All cit Your NONPRIORITY Unsecured Ctaims

3. Do any creditors have nonpriority unsecured claims against you?

Case number runway

 

|:] No. You have nothing to report in this part Subntit this form to the court with your other schedulesl

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. |f a creditor has more than one
priority unsecured claim, list the creditor separately for each claim. For each claim listedl identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.tf you have more than four priority unsecured claims

fill out the Continuation Page of Part 2.

41
Aarons

 

Nonpra:irity Creulter`s Nania

2658 Henry St

 

 

Nurnper Slrect
Muskeqon iV|| 49441
City Slale ZiP Code

Who incurred thc dcbt? Check one

[] Debtor1 only

13 Debtor 2 only

m Debtor t and Debtot 2 only

-[;f At least one ol the debtors and another

l"_t check irthis claim is for a community debt

ls the claim subject to ottsct?
No
a Yes

;~.
lo

A||y Financial

 

Nor'iprlor:ty' Cred:lt:r s N€Jri‘.e

P.O.Bo>< 380901

 

 

Nurnber Stle@t
B|oomington lVlN 55438
City Sl.'tlo ZiP Code

Who incurred thc dobt? Check one

ft Debtor t only

a Debtor 2 Only

n Debtor t and t)cblor 2 only

U At least one ol thc debtors and another

El Check if this claim is for a community debt
ls the claim subject to offset?

No

Cl Yes

m A||y Financia|

Ncnnr:ority Crattilr.rr`s Nnii i-s

P.O. Box 380901

 

 

Nurnber Slreet
B|oornington iVlN 55438
City Slato Z|P Code

Who incurred the debt? Check one

[:l Debtor t only

U Debtor 2 ortiy

CJ Debtor l and Debtor 2 onty

[:l At least one ot the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?
No
i;i Yes

Official Fnrm t nFiFi'F

Rr'.hodllle Fr'F' (`.rnr'|itnr; Whn H':NP. llnsc-mlr¢\rt (`.|:\ims

Tota| claim

Last4digitscfaccountnumberl 5 9 j_

51,770.21
When was the debt incurred? 712017

As of the date you filel the claim is: Check all that apply

a Contingent
Ct unliquidated
rc.] l)isputed

Type of NONPR|OR[TY unsecured claim:

Sludent loans

Obligations arising out ol a separation agreement or divorce
that you did not report as priority claims

Deth to pension or protit~sharing plans, and other similar debts
Other Spectly Furniture Bani< bedf mattress

El] tj['."

311 eds'§'o‘c')”"`

_l__».»_

Last¢tdigits ofaccountnumberj_l_Z_ 7

When was the debt incurred? 4/2017

As of the date you file, the claim is: Check all that apply

n Conlingent
a Un|lquldaled
m Dlsputed

Type of NONPR|ORtTY unsecured claim:

Student loans

Obiigations arising out ot a separation agreement or divorce
that you did not report as priority claims

Debts to pension or prohl'sharing pians, and other similar debts
Otriai. Specity Car loan! lease repoed Jeep

I[J fill

Last4 digits of accountnumber _Q § __OW M‘i_ $ 12617.00
When was the debt incurred? 31'20'$ 7

As of the date you file, the ciaim is: Check all that apply_

C] Contirtgent
a Un|iqtiidatctt
U l)is,puted

Type of NONPRIOR|TY unsecured claim:

n Student loans

C] Ob|igations arising out ot a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or proht'sharing plansi and other similar debts

'L."'} Otner Spcciry Car loan

nanF-t') nf n

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Debtor1 Jabrea iVicQuarter

Case number rir iiiaiin,i

 

liirst Name r.t:r_talc Nn:nrz

 

rst wanton

Your NONPR|ORITY Unsecured Claims -Continuaticm Page

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.4 . .
Cash Sfol.e Last4 digits ot account number L g _6_ l
Noiiorieniy Cred:tc-r 5 Nai“i-;'
When was the debt incurrcd? 2/20'17
1817 E. Sherman m
Nu'“b°" Sm` A rih d i f'i iii i ' ' cri k ii iii i
so c ac ou le, ecalmis: ec a atappy.
l\/lusl<egon l\ti| 49444 y
C.iy state Zii> code ij Coritingent
l [] Unliquidated
Whe incurred the debt? Cliect< one g mspmed
m Debtor l only
Ll Debtcr 2 only Type of NONPR|OR|TY unsecured claim;
i" ,
§ Debtdr 1 and Debtor 2 only -L_] Swdem loans
m least one O{ me debtors and another 0 Ob|igations arising out ot a separation agreement or divorce that
Cl Check if this claim is for a community debt you md nm mpcm as monty dams
i;t Deth to pension or profit-sharing ptans. and other similar debts
ls the claim subject to offset? El Othcr Specify CaSh store
No
[] Yes
4'5 - i 0 9 7 7
Cash Store Last4 digits ofaccouni:number _ _ _ __
Ncir'iprierit‘,' Cre'_‘ii‘icr`s Nan‘ie
When was the debt incurred? M_
2646 Henry
mower S"Eel A fth date f`l the claim is Check il th t ppl
s o e ou i e, : a a a y.
iviiisi<egon t\rii ____49444_ y
Cii!r' 5!5!€3 -’ii"i@it" w Conlingcnt
w Ultiiqtiidat(}d
Who incurred the rlebt? Check one U D|Sp…€d
n Debtor t only
C] Debtcr2 only Type of NONPR|OR!TY unsecured claim:
§ barrier 1 and center 2 only g Swdem loans
m least °ne Of the debtors and wth a Obligations arising out of a separation agreement or divorce that
E] Check it this claim is for a communit debt you did nol report 85 priority simms
y ll Debts to pension or profit-sharing plans_ and other similar debts
ls the claim subject to otfset? rymer SDCC,W l_oan _
L_] No
[;l Yes
-4'6 3 a 2 0
Community Schoo|s Credit Union Las“ d'g'ts °fa°c°“'“ number en _ _- _
Nonpriority Crec‘itor‘s Nariia
When was the debt incurred? 5/2017
1888 E. Sherman ___
Numnm Sveu' As et the date you file, the claim is: Check all that apply.
Muskegon i\/i| §S_J_{iji§i____ __ _ ____
Cilr stale xii> care [j gommg@m
C.l Unliquldated
Who incurred the dobt? Check one m Dispuled

a Debtor 1 only

i;t center 2 only

D Debtor 1 and Deblor 2 Oniy

C] At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

No
l;l Yes

Official Fnrm tnF"il:t'F

Type of NONPR|OR|T¥ unsecured claim!

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profitlsharirig plans_ and other similar debts
Olner Spcciry Loan overdraft

IU l:iCi

Sr‘.hertiile FIF' ('Zrnrtil'nrs Whn H:iun tlns:eciired C|aim.<:

Tota| claim

s 705.00

5705.00 §

g `i ',r`"s'z". as

name 1 nf R

Debtor 1

 

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Jabrea |\/lcSuarter

 

Firsl Namu Mtdn|e Nanic Last Namu

CGSE numbei (r!known]

 

Your NONPR|OR|TV Unsecui'ed Claims ~Contiriuation Page

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

 

4.7

 

 

 

§

 

('ifficia| Fnrm tnFti:fF

Huntington Banl<

 

Nonpriortly Credi!or 5 Na:nu

1775 E. App|e Ave

 

Nurrii;ier Streel
lVlusl<egon Ml _ 49¢142
City S!ale j iili"-t.To-o¢.~"

Who incurred the debt? Check one.

m Debtor1 only

[;i Debtor 2 only

[;l Debtor 1 and Debtor 2 only

53 At least one cline debtors and another

m Check if this claim is for a community debt

ls the claim subject to offsct?

No
a ‘(es

J and J Bai| 80nds __

Nonpr=ority Creo`itni s l\‘:i.ii‘r-.

1940 Easlern Ave SE

 

Number Street
Grand RapidS l\/I| 49507
City Slate ZlP Codc

Who incurred the dcbt? Check one.

’i:.l Debtor 1 only

ij Debtor 2 only

n Debtor1 and Deolor 2 only

m At least one of the debtors and another

El Check il this claim is for a community debt
ls the claim subject to offset?

w No

a Yes

l\/|usl<egon Coep ____

Nonprit'rrity Cret::!ci' s N;in:-.

MA__.____

 

 

Nu'nber S'.reol
l\/iuskegon lVil 49442
City Slale ZlP Ccide

Who incurred the debt? Check one

n Debtor ‘l only

Cl Deblor 2 only

il Debtor 1 and Debtor 2 only

~`:l At least one ot the debtors and another

il Check if this claim is for a community debt

ls the claim subject to offset?

No
a ¥es

Last4digitsolaccountnumber 9 9 0 9

2/2018

When was the debt incurred?

As of the date you file, the claim is: Check ali that applyl

Ll Conlingent
‘:i Unirquidatecl
C] oisptrted

Type of NONPRIOR|TY unsecured claim'.

n Sludent loans

ij Oblrgalions arising out of a separation agreement or divorce that
you did not report as priority claims

....] Deth to pension or profit-sharing plans. and other similar debts

E} Orher_ gpecrry Overdraft bank

Last 4 digits of account number _

8!2017

When was the debt incurred?

As of the date you fi|e. the claim is: Check all that applyl

C] Conl`tngent
L..l Un|iquidated
m Di`spuied

Type of NONPR|OR|TY unsecured claim:

Studenl loans

Obligatioris arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pensioner profit-sharing plans and other similar debts
t other speedy Bond loan

El:

LE

l

L.ast4digitsoiaccountnumber_5_1 9 4

leasL

When was the debt incurred?

As of the date you ii|e, the claim is: Check all that apply

g Contingent
m Un|iquidated
El oisputeo

Type of NONPREOR|TY unsecured claim;

Sttioent loans

Ooligations arising out ot a separation agreement or divorce that
you did not report as priority claims

Deth to pension or profit-sharing plans, and other similar debts
OrhEr, gpecrry Overdraft bank

ll] [lL

Sr‘.hnrlii|r=\ F'-’JF' Crr\riitnr¢. Whn H:i\m l|nsi=r.iirnri C|;iims.

Tota| claim

s 550.00 '

571,334.00

gssiz').oo"' §

named rif n

Debtor1 Jabrea l\/lc uar e

 

F:rst blame Midrllo Name Lesl Naiiie

asa:%Q-OOSS€-jvvb DOC #:1-2 Filed: 03/05/19 Page 21 of 30

Case number irrmown;

 

Your NGNPRIORITY Unsec:ured Claims -Continuation Page

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

 

 

4.10

 

 

Orbit l_easing

 

Nonpnorriy Creditor s Nainc-

 

 

P.O. Box 9534

Number Streel

Wyoming |\Jll 49509
City Siaii» /ill r‘,:)l:r

Who incurred the debt? Check one

Cl center 1 only

C] Debtor 2 only

C] Debtor 1 and Debtor 2 only

n At least one of the debtors and another

L_.l Check il this claim is for a community debt
ls the claim subject to offset?

ill No

ll Yes

 

 

 

 

.(>.

Progressive Leasing

Noitoriorlty' C!edit:r s i`.;ifi'-:

256 West Data l_:)_r

 

 

 

Number Stroet
Draper UT 84020
Cily State Z|l‘ Coer

Who incurred the debt? Check one

[._.] Debtor t only

§ Debior 2 only

a Debtor ‘l and l`Jobior 2 only

El At least one ol trio debtors and another

E.I Check it this claim is for a community debt

ls the claim subject to offset?

No
U Yes

Tempoe LLC

Nonprionty C.'etliior 5 Nan‘.r:

dby Why Not Lease lt 1750 E|m St. Suite 1200

 

 

 

Number Streel
Nlanchester Nl-l 03104
City Siaie le’ Code

Who incurred the debt? Check one

d Debior 1 only

Cl Debtor 2 only

n Debtor t and Debtor 2 only

m At least one cline debtors and another

13 Check if this claim is for a community debt

ls the claim subject to oftset?

El No
g Yes

Official Fnrrn ‘l(lRFlF

Sr.hnr\liilr\ F~lF‘ Crr-rlitnrs Whn l-l:w¢\ lln¢.nr:iirerl C|aim<

Tota| claim .':

s

z

Lastddigits olaccountnumber 9 'l 5 L 313 382_03;

11/2017

When was the debt lncurred?

As of the date you tile. the claim is: Check all that apply.

m COntingCr‘sl
i.J Un|iouidated
w lllsputed

Type of NONPR|OR|TY unsecured claim:

Siudent loans

Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

chis to pension or pmm-sharing plans and other similar debts
Otner Specily Surrendered car loan lease

TE|U

 

Last4 digits of account number _§_ _91 j_ § 51,949.77 §

When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply

L] Contingent
[.] unliquidated z
m Dlsputed

Type of NONPR|OR|`["'( unsecured claim:

U Siudent loans
U Ob|igations arising out ot a separation agreement or divorce that

you did not report as priority claims .
n Debts to pension or profit-sharing plans. and other similar debts §
Oiher gpecify Fumiture couch, mattressl 2 lamps

Last 4 digits of account number l g 'l 0

12/2018

When was the debt incurred?

As of the date you file, thisl claim is: Checl< all that apply

ll Contingent
1:.] Unliquidated
n l)isputed

'lype of NONPRIOR|TY unsecured claim;

Sti.ldent loans §
Obligations arising out of a separation agreement or divorce that
you did not report as priority claims 5
Debts to pension or profit-sharing plans. and other similar debts
Olh@r_ gpecjry E|ectronic device and bike

mo

EJU

f'\Rl’lPJ-'\

Debtor 1

B. Total the amounts of certain types ot unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. §159.

Jabrea McQuarter

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CaSe number iii miami

 

Fll'S! N lll\i: ."1ldl}lt' Niiltlt:

mdd the Amounts for Each `l"ype of Unsecured C|aim

last l’\. inli

Add the amounts for each type of unsecured claim.

Tota| claims
from Part 1

Total claims
from Part 2

6a Dornestic support obligations 6a
6b. Taxes and certain other debts you owe the

government Sb.
6c Claims for death or personal injury while you were

intoxicated 5¢
Sd. Other. Add all other priority unsecured claims

Write that amount here. 6d.
6e. Tota|. Add lines 6a through Bd. Be.
Gf. Student loans Gf.
69. Ob|igations arising out of a separation agreement

or divorce that you did not report as priority

claims og.
Gh, Debts to pension or profit-sharing plans, and other

similar debts oh
61 Other. Add all other nonpriority unsecured claims

Write that amount here div
Gjl TOl'.a|. Add lines Sf through Si. til

folr.i:il Form tnGFrF-"

Sr‘.hr\rlii|r-\ Fi'F' (`.rnriil'nr'~‘. Whn Ha\m llnm\r‘.iirnrl i.".|:\im§

 

 

 

 

 

Tota| claim
$

S___

S_ ___

+ s

5

Total claim
5000
3000
5000

+ 5117.569.89

 

 

5117,569.89

 

 

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_ Fiii in this information to identify your caso: ` ' ` 5 q rim if D
Debtor Jabrea lV|cOuarter h
Frrsi N.'imo Miduie Nriiiic Last blame (’_’U} 9 gag-3 -5 AH liga 3 h

Debtor 2
(Spouse ll blian Firsi Nnme Miririte Namc Last Nams

 

 
 

United States Banl<ruptcy Court for the' DiSt"iCt 01 Michigan W@Stem

 

Case number ` . . .
irrigation __"”_`L_A'_" ~'__ '"_' " n Check if this is an

_.m- al amended filing

Official Form 1066
Schedu|e G: Executory Contracts and Unexpired Leases 12115

 

 

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page. fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number tit known).

1, Do you have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
l:l Yes. l-`i|| in all ol the information below even little contracts or leases are listed on Schedule A/B: Property{Official Form tOEiAi'B).

2. List separately each person or company with whom you have the contract or |ease. Then state what each contract or lease is for (for
examp|e, rent, vehicle |ease, cell phonel. See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State ZlF’ Codo

2.2

 

Name

 

Number Slreet

 

City State Z|P Codo
2.3

 

Name

 

Number Street

 

City Staie Z|P Code
2.4

Name

 

Number Street

 

City State Z|P Ccde
2.5

 

Name

 

Number Street

 

City State ZlP Cooo

Official Fnrrn 105G Sr:hnrliile G: eri~.iitnrv Cnntracts; and llnexnirerl leases cane 1 of 1

 

Case:lQ-OOSSG-jwb Doc #:1-2 Filed: 03/05/19 Page 24 of 30

.Fill in this into-rotation to identify'yo:ur cas-enz-

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\’- t § ti..
. -¢ , .

v t .i,,.» §,==..

Z[ll§ i=ii~"ti;i ~‘5 ili"i i€}f 35

Jabrea ll/icOuarter

Firs| Name

Deblor 1

illicile N:iiiic l.asi Na:nt\

Deblor 2
lSpouse, if liling) mm alamo

 

:¢|‘-\| N.W-ti

ii°¢ii]i.'lre N.iiiii‘ '
united states eani<rupicy court for ino: Di$lfi€l Of |Vlichigan Wesiefn

Case number
l|l‘ Knownl

 

   

El Check if this is an
amended filing

Official Form 106i-l
Schedute H: your Codebtors iziis

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additionai Page to this page. On the top of any Additiona| Pages, write your name and
case number (if known}. Answer every question.

 

1. Do you have any codebtors? (|f you are filing a joint case‘ do nol list either spouse as a codebtori)
No

El Yes
Within the last 8 years, have you lived in a comm unity property state or territory? (Communiry property states and territories include
i°irizonal Caliiornia. idahol l_ouisiana` Nevada. New Mexico. Puerto Rico. Texas` Washington` and Wisconsin.)
iii No. Go to line 3.
n Yes. Did your spouse former spouse or legal equivalent live with you at the time?
il No

l:l Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

 

blame al your spocse. former spouse or legal equivalent

 

Number Sireel

 

City Siaio ZlP Code

3. in Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Otficial Form 106D), Scheduie E/F (Otficial Form 106E1'F). or Schedule G (OHicial Form 1066). Use Schedu!e D,
Schedule E/F, or Sched'ule G to fill out Column 2.

Column 1.' ‘t'our codebtor Column 2.' The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
l:l Schedule D. line ___
Name
l;i Schedule EtF. line
Number Siroei . _ d SCh€duiE-Z G_ line
City __ _SEi_o_' _ ___ _ _ Y m}i¢ Eoué j
-
L.l Schedule D, line
Name
Cl Schedu|e Ei'F. line
Number Streel m SChEdUlE G. line
City Si;iii.- /ii’ Codo
3.3 ..
csc is - s _ _ ____ _ _ _ _____ mm i_] Scheclule D_ line
Namo
L_l Schedu|e EfF_ line
Number Streei D SChEClU|E G, line
Ciiy_ __ Siaie ZiP Codo

 

Official Form 101'1`l-i

Fir:hediile H: Yniir Cnde.htors

nann‘l rif 1

Case:lQ-OOSSG-jwb Doc #:1-2 Filed: 03/05/19 Page 25 of 30

' Fiii`ioihis in_fomiotion__to idé_oiify yourcase:_ l _ : ' . i"" 1 F'““ j"\
. __Ew- gm '
‘ ij

t .'r\-.-¢ luna

comm 1 Jabrea lVicOuarter

Firsl N:iirie Miilillu Naii'ie E.ast Niiiiic

isn isii -s iii is 35

ifSpoLise. il filing) Firs! N:iine Miiinic Naine Last Nnnic

 

 

  

United Slales Eiankruptcy Court for the: DiSiFiCi 0f MiChiQan We$tem

 

Caser=~mber check irii'ii`si's. . .
(|fknown)
n An amended filing

[:.l A supplement showing post-petition
chapter 13 income as of the following date:

Official Form 106l m
Schedu|e l: Your lncome ms

Be as complete and accurate as possible lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you. include information about your spouse.
|f you are separated and your spouse is not filing with you, do not include information about your spouse. lt more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Employment

 

 

 

 

1 Fill in your employment

 

information Debtor 'l Debtor 2~ orlnon-filing spouse

lf you have more than one job.

attach a separate page with
informa,€ion about additional Employment status L'_l Employed :] Employed
employers _] Not employed ‘_] Not employed
include part-timer seasonal or
self-employed worlr.. . _

Occupat|-on radiology aide

 

Occupation may include student
or homemaker‘ if it applies

 

 

 

 

 

 

Employer’s name Nlercy Health Partners
Employer’s address 1500 E_ She,man
'_No'mber SEe_i_m ' _'_" j ___ Number Sireet
il.'luskegoril l'v‘|l
City State Z!P Code City State ZiP Code

l-low long employed there? 3 years __

 

mGive Details About Month|y income

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write 50 in the space. include your non-filing
spouse unless you are separated

lfyou or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below lf you need more space attach a separate sheet to this form

For Debtor1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages. salary, and commissions ibefore all payroll

 

deductions). li not paid monthly calculate what the monthly wage would be. 2 3 1|400700 3 000
3. Estimate and list monthly overtime pay. 3, + 3 160.00 + 5 0.00
4. Ca|cuiate gross income. Add line 2 + line 3, 4. $1.560.00 5 O-UO

 

 

 

 

 

Official Form 106t Schedule l: Your income DBQ€ 1

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Debtor1 Jabrea lVlcQuaner
Firsl Name Middle Name Last Name
Copy line 4 here .......................................................................................... -) 44

5. List all payroll deductions:

 

5a Tax, lltledicare, and Social Security deductions 5a
5b. Mandatory contributions for retirement plans 5b.
Sc. Vo|untary contributions for retirement plans 5c.
5d. Required repayments of retirement fund loans 5d.
5e. insurance 5a
5f. Domestic support obligations 5f.
59. Union dues 59.
5h. Other deductions. Specify: 5h.
§ 6. Add the payroll deductions Add lines 5a + 5b + 50 + 5d + 5e +5f + 59 + 5h. 6,
7. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7,
8. List all other income regularly received:
8a Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a
8b. |nterest and dividends 8b.

Bc. Family support payments that you, a non-filing spouse, or a dependent

regularly receive
include alimony, spousal support, child support maintenance, divorce

settlement and property settlementl 8c
8d. Unemp|oyment compensation Bd.
8e. Social Security Be.

8f. Other government assistance that you regularly receive

include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies

 

 

Specify; Food assistance 3f_
89. Pension or retirement income Bg.
8h. Other monthly income. Specify: 8h.
9v Add all other income. Add lines Ba + 8b + 80 + 8cl + Be + Bf +Bg + 8h. 9.
10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.

11.

State all other regular contributions to the expenses that you list in Schedu/e J.

Case number iiiunowi.i

 

For Debtor 2 or

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For Debtor 1
non-filing spouse
$ 1,560.00 s 0.00
5 150.00 $ 0.00
$ 0.00 $ 0.00
5 0.00 $ 0.00
$ 0.00 5 0.00
5 0.00 3 0.00
3 0.00 5 0.00
3 100.00 5 0.00
+ $ 0.00 + 5 0.00
$ 250.00 s 0.00
3 1,310`00 $ 0.00
$ 0.00 5 0.00
3 0.00 5 0.00
$ 150.00 $ 0.00
$ 0.00 5 0.00
s 0.00 $ 0.00
5 258.00 $ 0.00
s 0.00 3 0.00
+ 3 0.00 + 5 0.00
$ 408.00 $ O-OO
5 1,718.00 + 5 0.00 = $1.718.00

 

 

 

 

 

lnclude contributions from an unmarried partner, members of your household. your dependents your roommatesl and other

friends or relatives.

Do not include any amounts already included in lines 2~10 or amounts that are not available to pay expenses listed in Schedule J.

 

Specify; 11. +
'12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and L/`abilities and Certain Stati'stical tnforrnation, if it applies 12_

13. Do you expect an increase or decrease within the year after you file this form?

No.

$ 0.00

3 1,718.00

Combined
monthly income

 

m Yes. Explain:

 

 

Official Form 1061

Schedule l: Your income

page 2

 

 

 

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Fill in ih__is§isrqnnai_isii__isiidshiiry your css:s;f

 

 

 

 

 

Debtor1 Jabrea lv'lcQuarler . 1 .
Firsi N.'imc i.ii.m:n N.qme ' 1 i_.-isi mine Check |f this |S:
Debtor 2 - »
(Spouse- if m'"gl Firsi Nmne Mii.tdle Narne i_asi Name n An amended fnan
D_ t _ t fM, h, W t Cl A supplement showing post-petition chapter 13
' - is riC 0 .
United States Bankruplcy Court for the lC lgar'i es ern expenses as Of the followmg data
Case number ____-_MM l, DD; WY¥
(lfknown)

 

Official Form iO€:`>J
Schedule J: Your Expenses wis

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct
information lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your nar_ne and case number

(if known). Answer every question. `M

m Describe \"our Household

 

,

 

.3.,¥
= i
1 ls this a joint case? .r.i.....
§'m“”

E] No. Go to line 2. s
§ Yes. Does Debtor 2 live in a separate household? "'§"`§

[J No
Cl Yes. Debtor 2 must file Official Forms 106J-2, Ex,oenses for Separate Hoi.isehoi'd of Debtor 2.

 

2 Do you have dependents? [J NO

 

 

 

 

 

Dependent's relationship to Depende'-nt"s Does dependent live
Do not list Debtor 1 and -_-l Yes Fill OUi mls information for Debtor1 or Debtor 2 age with you?
D€bloi 2- each dependentsl _i t - " ""~" "' -~- '~-"-“"”WM""__~“'_"
. |;l No
Do not stale the dependents daughter 5 Y
names 63
daughter 3 C\ No
Yes
brother 13 Cl No
Yes
m No
m Yes
[;] No
n Yes
3. Do your expenses include § NO

expenses of people other than a
yourself and your dependents? Yes

m Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedui'e J, check the box at the top of the form and fill in the

 

applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included ii on schedule i.- Your income iorriciai Form a 106|.) Y°“' expenses

4. The rental or home ownership expenses for your residencel include first mortgage payments and 5 775 00
any rent forthe ground or |ot.

lf riot included in line 4:

 

4a Rea| estate taxes 4a 5 000
4b Property. hoirieowner`sl or renter's insurance 4b 5 0-00
ac Home maintenance repair, and upkeep expenses 4c 3 000

ad 3 0.00

4d. Homeowner’s association or condominium dues

Official Form 106J Schedule J: Your Expenses page 1

Debtor 1

10.

11.

12.

13.

14.

15.

16.

17.

18.

19.

20.

Ofncial Form 106J

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Jabrea McQuarter

First Namc Middle Name Last Namc

Additiona| mortgage payments for your residence such as home equity loans
Uti|ities:

ea. E|ectricity. heat, natural gas

6c. Water, sewer, garbage collection

6c. Telephone, cell phone. lnternet. satellite, and cable services

6c. Other. Specify:

 

Food and housekeeping supplies

Childcare and children’s education costs
Clothingl |aundry, and dry cleaning
Persona| care products and services
|Vledica| and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitabie contributions and religious donations

|nsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Heaith insurance
15c. Vehicie insurance

15c. Other insurance Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a Car payments for Vehicle 1
17b. Car payments for Vehic|e 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Case number i./m»swii)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule l, Your income (Official Form 106|).

Other payments you make to support others who do not live with you.

Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your lncome.

20a Mortgages on other property

20b. Reai estate taxes

20c. Property, homeowner‘s, or renter’s insurance
20d. l\/|aintenance. repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedu|e J: Your Expenses

6a
6b.
6c.
Gd.

10.

11.

13.

14.

15a
15b.
15c.

15d.

16.

18.

19.

203.
20b.
20c.
20d.

209A

Your expenses

 

3 0_00

$ 0.00
5 0.00
$ 0.00
$ 0.00

$ 0.00

s 0.00
5 0.00

 

 

m

 

l

3 0.00

 

3 0.00

l

5 0.00

 

3 0.00
5 0.00
$ 0.00
s 0.00

l

l

l

 

page 2

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Debior 1 Jabrea |VlCQuarter Case number iir)<nawn;
Firsl Name Midoie Name Last Nrime

21. Other. Specify:

 

22. Ca|culate your monthly expenses.
22a Add lines 4 through 21.
22b. Copy line 22 (monthiy expenses for Debtor 2). if any. from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Ca|culate your monthly net income.
23a. Copy line 12 ( your combined monthly income) frorn Schedule l.

23b. Copy your monthly expenses from line 22 above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For exampie, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

No.
U Yes. Expiain here:

Official Form 106J Schedule J: Your Expenses

21.

+5 0.00

1

$ 1,965.00
§ $
§ 5 1,965.00

22. "

233.

23b.

230

$1.718.00

__ $1,965.00

 

 

$ -247.00

 

 

 

page 3

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Attachment
Debtor: Jabrea l\/lcQuarter Case No;

Attachmcnt l

queen size bed, mattress, bed rails, 2 couches, i`uli size bed, 2 twin and full mattresses,
flat screen 32" tv, 48" fiat Sci'ccn tv, ipad4

Attachment 2

loggins, tennis sliocs, coai, hoodies, jcans, boots
Attachment 3

Pandora bracelct, ring, 4 pair of ean'ings

Attachment 4

Other Financial /-\.ccount with l"`ifth 'i`hii'd Bank

